Case 16-18085-mdc          Doc 42   Filed 08/02/17 Entered 08/02/17 14:18:04              Desc Main
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                             IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                                :
                                                      :
Terry Starks                                          :        CHAPTER 13
                                                      :
                                                      :        BKY. NO. 16-18085JKF13
                                                               :
                (Debtor)                              :

                  ORDER DISMISSING CHAPTER 13 CASE AND SETTING DEADLINE
                FOR APPLICATIONS FOR ALLOWANCE OF ADMINISTRATIVE EXPENSES

        AND NOW, consideration of the Motion to Dismiss Case filed by William C. Miller, Standing
Trustee (“the Trustee”), and after notice and hearing, it is hereby ORDERED that:

1.       This chapter 13 bankruptcy case is DISMISSED.

2.      Counsel for the Debtor shall file a master mailing list with the Clerk of the Bankruptcy
Court if such has not been previously filed.

3.       Any wage orders previously entered are VACATED.

4.      Pursuant to 11 U.S.C. §349(b)(3), the undistributed chapter 13 plan payments in the
possession of the Trustee shall not revest in the entity in which such property was vested
immediately before the commencement of the case. All other property of the estate shall
revest pursuant to 11 U.S.C. §349(b)(3).

5.     All applications for allowance of administrative expense (including applications for
allowance of professional fees) shall be filed within twenty (20) days of the entry of this Order.

6.      Promptly after the expiration of the time period set forth in paragraph 5 above, Counsel
for the Debtor shall file either: (a) a Certification of No Response confirming that neither an
objection to the proposed compensation nor an application for administrative expense has
been filed or (2) certify that such applications have been filed (after which the Clerk shall
schedule a hearing on all such applications).

7.       If no Certification, as required above in Paragraph 6 has been entered on the docket
within sixty-three (63) days of the entry of this Order, then the Standing Trustee shall: (a) if any
applications for administrative expenses other than Debtor(s)’ Counsel’s have been filed,
request a hearing thereon or (b) if no such applications have been filed, return the undistributed
chapter 13 plan payments in his possession to Debtor(s) pursuant to 11 U.S.C. §1326(a)(2).


                                               By the Court:


Date: August 2 , 2017                          _______________________________
                                                HON. JEAN K. FITZSIMON
                                                U. S. Bankruptcy Judge
